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UNITED STATES BANKRUPTCY COURT SOUTHERN DISTRICT OF TEXAS

 

Motion and Order for Admission Pro Hac Vice

 

 

 

 

 

 

 

 

 

 

 

 

Division HOuStOn DiViSiOn l\/lain Case Number 18-32106
Debt@r 111 R@= ER|N ENERGY ooRPoRATloN, et al.
Lawyer’§ Name ROF`|B|CI J. Sllverman, ESq.
Firm Hogan Love||s US LLP
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Licensed: State & Number NGW YOFk-NO.3946944-Admitled 2001
Federal Bar & Number U.S. District Court-District of Connecticut~No. CT10082-Admitted 1992
Narne of party applicant seeks to Nigerian Agip Exploration Limited
appear for: ar
/
l-Ias applicant been sanctioned by any bar association or court? Yes No \/

On a separate Sheet for each sanction, please supply the full particulars

 

 

Dated: 5/18/2018 Signed: /s/Rona|d J. Sllverman

 

 

 

The state bar reports that the applicant’s Status is:

 

 

 

Datecl: Clerk’s Signature:

 

 

Order

 

 

This lawyer is admitted pro hac vice.

 

Dated:

 

 

United States Bankruptcy Judge

